        Case 1:18-cv-03074-CRC Document 138 Filed 06/26/23 Page 1 of 4




                          UNITED STATES DISTRICT COURT
                              DISTRICT OF COLUMBIA

 Yanping Chen,

                                 Plaintiff,
                                                   No. 18-cv-3074
                     v.
                                                   Hon. Christopher R. Cooper
 Federal Bureau of Investigation,                  United States District Judge
 U.S. Department of Justice, U.S.
 Department of Defense, and U.S.
 Department of Homeland
 Security,
                        Defendants.

                                 JOINT STIPULATION

       Plaintiff Yanping Chen; Defendants Federal Bureau of Investigation,

U.S. Department of Justice, U.S. Department of Defense, and U.S. Department of

Homeland Security; and non-parties Catherine V. Herridge and Fox News Network, LLC

(FNN) jointly stipulate to allow undersigned counsel to obtain copies of the transcript of

the sealed portion of the motion-to-quash hearing held before the Court on May 30,

2023, see Minute Entry of May 30, 2023, and to designate the copies of the sealed

portion of the transcript as Confidential Protected Material pursuant to the Protective

Order entered in this matter, see ECF No. 27. The undersigned hereby petition the Court

to enter this stipulation. In support of this request, the undersigned state as follows:

       1.     In June 2022, Plaintiff served subpoenas for documents and testimony on

non-parties Herridge and FNN. Herridge and FNN each filed separate motions to quash

these subpoenas. ECF Nos. 94, 95. Plaintiff opposed the motions to quash.

ECF Nos. 120, 121.
        Case 1:18-cv-03074-CRC Document 138 Filed 06/26/23 Page 2 of 4




       2.     The protective order in this case requires that any filing discussing

material that has been designated confidential be filed under seal. Protective Order ¶ 17.

In accordance with that provision, Herridge, FNN, and Plaintiff moved to file the briefs

in support of and in opposition to the motions to quash under seal, see ECF Nos. 92, 93,

99, 113, 125, 126. The Court granted these motions. See Minute Orders of Aug. 1, 2022,

Aug. 26, 2022, Sept. 12, 2022. Herridge, FNN, and Plaintiff subsequently filed public

versions of the memoranda in support of and in opposition to the motions to quash,

redacted to conceal information covered by the protective order. See ECF Nos. 96, 97,

122, 123.

       3.     The Court held a hearing on the motions to quash on May 30, 2023. At the

outset of the hearing, counsel for Herridge and FNN requested that the proceeding be

conducted under seal given the amount of under seal material discussed in the briefs.

See Hr’g Tr. 3–4. In response to this concern, the Court bifurcated the hearing into a

public portion confined to legal standards and other public matters, and a sealed portion

during which counsel could discuss sealed materials. See id. at 5.

       4.     Counsel for the parties and for non-parties Herridge and FNN now

stipulate to permit each of the undersigned to obtain copies of the transcript of the

sealed portion of the hearing. Good cause exists to provide those copies to undersigned

counsel, each of whom was present at the hearing and is already familiar with the

confidential matters discussed therein.

       5.     For the same reasons the Court ordered the motion-to-quash briefs to be

filed under seal and redacted, good cause also exists for the sealed portion of the

transcript to be designated as Confidential Protected Material upon its release to

undersigned counsel. Counsel and the Court discussed matters designated as

                                             2
        Case 1:18-cv-03074-CRC Document 138 Filed 06/26/23 Page 3 of 4




confidential during the sealed portion of the hearing and hereby stipulate that the sealed

portion of the transcript will be treated as Confidential Protected Material upon release

to the undersigned. See Protective Order ¶¶ 2, 10.

Dated: June 21, 2023                         Respectfully submitted,

                                             /s/ Andrew C. Phillips__
                                             Andrew C. Phillips (DC Bar No. 998353)
IT IS SO ORDERED.                            Shannon B. Timmann (DC Bar No.
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Case 1:18-cv-03074-CRC Document 138 Filed 06/26/23 Page 4 of 4




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